      Case 18-14682-jkf         Doc 74Filed 07/01/19 Entered 07/02/19 08:24:35                         Desc Main
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                           IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 IN RE:                                                      18-14682 JKF
 Javette L. Stone
 Lance E. Stone                                              Chapter 13 Proceeding
                                        Debtors
 WELLS FARGO BANK, N.A.
                                        Movant
 v.
 Javette L. Stone
 Lance E. Stone
 and Scott Waterman, Esquire
                                        Respondents
14-0151
                                                       ORDER

          AND NOW, this 1st day of July                                          xxxxxxxxxxxxxx
                                                    , 2019, it is hereby ORDERED AND  DECREED that the automatic
stay of 11 U.S.C. §362(a) is hereby modified to permit, WELLS FARGO BANK, N.A. and/or its successors and assigns
to proceed with foreclosure on the property located at 21 East Elbon Road, Brookhaven, PA and obtain all other Relief
available under the Non-Bankruptcy law.
          Upon the order being granted and entered, WELLS FARGO BANK, N.A. shall have the continuing authority to
contact the Debtors directly to determine intent regarding the property and/or to verify vacancy of the home.
          It is further ORDERED AND DECREED, that relief granted by this order shall survive the conversion of this
bankruptcy case to a case under any other Chapter of the Bankruptcy Code.
          It is further ORDERED AND DECREED, that Bankruptcy Rule 4001(a)(3) is not applicable and Movant is
allowed to immediately proceed with foreclosure and all other relief available under the Non-Bankruptcy law.
                                                   BY THE COURT:



                                                   United States Bankruptcy Judge
                                                   Jean K. FitzSimon
Interested Parties:
Amanda L. Rauer
Attorney for Movant

Brad J. Sadek, Esquire
Attorney for Debtors

Javette L. Stone
Lance E. Stone
Debtors

Scott Waterman, Esquire
Trustee
